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ENTER

Page l cf 5

Umted States Dlstrt
Central Distrlct of C
Docket No.
UN|TED STATES OF AMERICA vs. CR- 0_1__-2_3_7_(5)-WDK _
Social Security
Defendant GR_E_GQF\_‘_Y ALAN FO§'[E_R_ ___ No. j25§-88-2938 j j __
akas
__1__ ____?“Qn€" ,__ ___
&

Residence _Metropo|itan,Detention QeLt§r_
Address _535 North A@meda Street 77 nw
_l:os A_ngeies_, _CA 90012 7 j **_

JUDGN|ENT AND PROBATIONICONIN||T|V|ENT ORDER

MONTH DAY YEAR

Mai|ing Address -same-

 

 

 

 

|n the presence of the attorney for the govemment, the defendant appeared in person on this date. 05 17 2002
WITH JAM ES HENDERSON, Retained
COUNSEL EL:OUNSEL

 

(Name of Counse|)

PLEA tI-tUlLTYl and the court being satisfied that there is a factual basis NOLO NOT
or the plea. CONTENDRE GU|LTY

 

F|ND|NG There being a GU|LTY, defendant has been convicted as charged of the offense(s) of:
finding/verdict of

Mail Fraud, in Vio|ation of 18 USC 1341; Money Laundering, Aiding and Abetting, and Causing an Act to be
Done, in Vio|ation of 18 USC 1956(a)(1)(A)(i), Money Laundering, Aiding and Abetting, and Causing an Act
todbe Done, in Vio|ation of 18 USC 1957, as Charged in Counts 7, 19 and 23 of the Second Superseding

n ictment.

JUDGMENT AND The Court asked whether defendant had anythin to say why judgment should not be pronounced Because no sufticient cause to the contrary was shown. or

PROB..' appeared to the Court, the Court adjudged the de endant guilty as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is the
COMM|TMENT judgment of the Court that the defendant is hereby committed to the custody of the Bureau of Prisons to be imprisoned for a term of:

ORDER

 

87 (eighty-seven) Months. This term consists of 60 months on Count 7, 87 months on Count 23, and 87
months on Count 19 of the Second Superseding |ndictment, all to be served concurrently.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 3
(three) years, on each of Counts 7, 19 and 23, all such terms to run concurrent|y, under the following terms
and conditions:

1. The defendant shall comply with the rules and regulations of the U.S. Probation Oftice and
Genera| Order 318;

2. The defendant shall participate in outpatient substance abuse treatment and submit to drug
and alcohol testing, as instructed by the Probation Ofiicer. The defendant shall abstain from

using illicit drugs, using alcoho|, and abusing prescription medications during the period of
supervision;

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United States District Court
Central District of California

 

 

 

UNITED STATES OF AMERICA Docket No. CR01-237ij*WDK
vs

Defendant GREGORY ALAN FOSTER DATE: JUNE 17, 2002

||__ JUDGMENT AND PROBATION/COMMITMENT ORDER

 

 

continued from page 1

3. The defendant shall participate in a psychological/psychiatric counseling or treatment
program, as approved and directed by the Probation thcer;

4. During the period of community supervision, the defendant shall pay the special assessment
and restitution.

5. The defendant shall not engage, in any business involving investments, asset management or
protection, or any other business involving the solicitation of funds without the express
approval of the Probation Officer prior to engagement in such employment Further, the
defendant shall provide the Probation Ocher with access to any and all business records,
client lists, and other records pertaining to the operation of any business owned, in whole or in
part, by the defendant as directed by the Probation Offlcer.

lt is ordered that the defendant shall pay to the United States a special assessment of $300.

lt is ordered the defendant shall pay restitution in the total amount of $ 3,735,000.00 pursuant to 18 USC
3663A. The defendant and Steven C|ark Woods1 his convicted co-participant , will be held jointly and
severally liable for the amount of $2,535,000.00. Manner of restitution to be determined by the Probation
Officer.

Pursuant to 18 USC 3612(f)(3)(A), interest on the restitution is ordered waived because the defendant does
not have the ability to pay interest

Pursuant to Section 5E1.2(e) of the Guidelines, all fines are waived as it is found that the defendant does
not have the ability to pay a fine in addition to restitution

The defendant shall comply with Genera| Order 01-05.
The Court recommends that the defendant be placed in Southern Ca|ifornia facility.
The Court also recommends that the defendant participate in Bureau of Prisons full time drug program.

Upon Government’s motion, all remaining Counts are ordered Dismissed without prejudice

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United States District Court
Central District of California

 

 

 

 

 

UNITED STATES OF AMERICA Docket No. CR 01-237 B -WDK
vs
Defendant GREGORY ALAN FOSTER DATE: JUNE 17. 2002
\|: JUDGMENT AND PROBATION/COMMITMENT ORDER "

continued from page 2

in addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
Probation and Supervised Re|ease set out on the reverse side of this judgment be imposed. The Court may change the
conditions of supervision, reduce or extend the period of supervision, and at any time during the supervision period or
within the maximum period permitted by |aw, may issue a warrant and revoke supervision for a violation occurring during the
supervision pericd.

nThis is a direct commitment to the Bureau of Prtsons, and the Court has NO OBJEC'T\ON should the Bureau of Prisons designate defendant to a
Communlty Corrections Center.

signed by: u. s. oistrict JudiMA/f-'VWZM¢L/
“waLiAM o. KELLER

lt ls ordered that the Cierk deliver a certified copy of this Judgment and l'-‘robat|onfCommltment Order to the U.S. Marshal or other qualified oft`lcer.

Sherri R. Carter, Cierk

oatedn=iled JUN 24 2002 ny Qflfm/ F Ql-"¢f~\

Jovita P. iiagan, Deputy Cierk

 

 

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U.S.A. vs GREGORY ALAN FOSTER Docket No.: CR 01-237(B)

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant
shall comply with the additional conditions on the attached page(s) pursuant to General Orders 318 and 01-05.

Statutorv Provisions Pertainino to Pavment and Collection of Financia| Sanctions

The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or
unless the fine or restitution is paid in full before the fifteenth (15"‘) day after the date of the judgment pursuant to 18
U.S.C. §3612(f)(1). Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(9).
interest and penalties pertaining to restitution , however, are not applicable for offenses completed prior to Apri| 24, 1996.

if all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the
defendant shall pay the balance as directed by the United States Attorney's Ofiice. 18 U.S.C. §3613.

The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendants
mailing address or residence until all fines, restitutionl costs, and special assessments are paid in fu||. 18 U.S.C.

§3612(b)(1)(F).

The defendant shall notify the Court through the Probation thce, and notify the United States Attorney of any
material change in the defendants economic circumstances that might affect the defendants ability to pay a fine or
restitution, as required by 18 U.S.C. §3664(k). The Court may also accept such notification from the government or the
victim, and may, on its own motion or that of a party or the victim, adjust the manner of payment of a Hne or restitution-
pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(3)(7).

Payments shall be applied in the following order1

1. Specia| assessments pursuant to 18 U.S.C. §3013;
2. Restitution, in this sequence:
Private victims (individual and corporate),
Providers of compensation to private victimsl
The United States as victim;
3. Fine;
4. Community restitutionl pursuant to 18 U.S.C. §3663(0); and
5. Other penalties and costs.

Special Conditions for Probation and Supervised Re|ease

As directed by the Probation Ofiicer, the defendant shall provide to the Probation Ofncer: (1) a signed release
authorizing credit report inquiries; (2)federa| and state income tax returns or a signed release authorizing their disclosure
and (3) an accurate financial statement with supporting documentation as to ali assets, income and expenses of the
defendant in addition, the defendant shall not apply for any loan or open any line of credit without prior approval of the
Probation Officer.

The defendant shall maintain one personal checking account Aii of defendant’s incomel “monetary gains,’1 or
other pecuniary proceeds shall be deposited into this account which shall be used for payment of all personal expenses
Records of all other bank accounts, including any business accounts, shall be disclosed to the Probation Ofticer upon
request

The defendant shall not transfer. se|i, give away, or otherwise convey any asset with a fair market value in excess
of $500 without approval of the Probation Ofncer until all hnancia| obligations imposed by the Court have been satisfied
in ful|.

 

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U.S.A. vs GREGORY A[AN FOSTER Docket No.: CR 01-237 B -WDK

STANDARD CONDIT|ONS OF PROBAT|ON AND SUPERV|SED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment

1. The defendant shall not commit another Federal, state or 10. the defendant_si_ia|l not associate with an persons _
local crime; engaged in criminal activi , and shall no associate with
_ _ _ _ _ l any person convicted of a elony unless granted
2. the defendant s_hal| not leave the judicial district without the permission to do so by the probation ofncer;

written permission of the court or probation officer; l _
11. the defendant shall permit a robation officer to visit him c

3. the defendant shall report to th_e probation officer as _ her at any time at horne or e sewhere and shall permit
directed by the court or probation officer and shall submit a confiscation of any contraband observed in plain view by
trlithful]and oomp|ete written report within the first five days the probation officer;

o eac mon ;
_ _ _ 12. the defendant shall notify the probation officer within 72

4. the defendant shall answer truthfully all inquiries by the _ hours of being arrested or questioned by a law
pltobation officer and follow the instructions of the probation enforcement officer;

o icer;
_ 13. the_defendant shall not enter into any agreement to act as

5. the defendant s_ha|| support _h_is or her dependents and an informer or a special agent of a law enforcement
meet other family responsibilities; agency without the permission of the court;

6. the defendant shall work regularly at a lawful occupation 14. as directed by t_he probation officer, the defendant shall
unless excused by the robation officer for schooling, notify third parties of risks that may be occasioned by the
training, or other accep able reasons; defendant’s_crimina| record or personal history or

. _ _ _ charactensticsl and_ shall permit the probation officer to

7. the defendant shall notify the probation ofhcer within 72 make such notifications a_nd to_ conform the defendant’s
hours of any change in residence or employment; compliance with such notification requirement;

8. the defendant shell refrain from excessive use of alcohol 15. the defendant shall not possess a firearm or other
and shall not purchase, possess, usel distribute or dangerous weapon;
administer any narcotic or other controlled substance or
any paraphernalia related to such substances, except as 16. the defendant sha||, upon release from a_n _period of
prescribed by a physician; custody, report to the probation officer wit in 72 hours.

9. the defendant shall not frequent places where controlled
substances are illegally sold, used, distributed or
administered;

These conditions are in addition to any other conditions imposed by this Judgment
RETURN
l have executed the within Judgment and Commitment as follows:
Defendant delivered on to
Defendant noted on appeal on
Defendant released on

 

 

Mandate issued on

 

Defendant's appeal determined on

 

Defendant delivered on to

at , the institution designated
by'ii'"ie"'Ei'ureau of P_nsons, with a certified copy of the within Ju'og'm"e"n` t and Commitment.

UN|TED STATES MARSHAL
DATED: BY:

 

CERT|F|CATE

l hereby attest and certify this dale that the foregoing document is a ful|, true and correct copy of the original on file in my office,
and in my legal custody

CLERK. U.S. D|STRICT COURT

DATED: BY:
Joviia P. iiagan, ueputy clerk

 

AO-245-A (011'90) JUDG|V|ENT AND PROBAT|ONICOMN||TN|ENT ORDER

 

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u
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Atty Sttlrrmt Officer US Attorneys Office - Civil Division -L.A.

 

 

 

 

 

 

 

 

BAP (Bankruptcy Appellate Pancl) US Attomcys Oftice - Civil Division - S.A.
Beck, Michael J (Clerk, MDL Panci) US Attomeys Officc - Criminal Division -L.A.
Caldcrori, Arthur - Warden, San Quentin US Attorneys Oflicc - Criminal Divisioo -S.A.
CAAG (California Attomey Gencral’s OEHce - US Bankruptcy Court

 

Susan Friersori, L.A. Death Penalty Coordinator)

CA St Pub Defendcr (Calif. State PD)

 

X US Marshai Sei'vicc - Los Angeles

US Marsitai Service - Santa Ana

 

 

 

 

Case Asgmt Admin (Case Assignment

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Administrai@r) US Marsbal Sei'vicc - Riverside
Catterson, Cathy (9‘h Circuit Court of Appeal) X US Probati°ll Offl€¢
Ciiief Dcputy Adrri US Tl'llStG€’S Officc
Chief Deputy Ops
Cierk of Court
ADD NEWNOTICE PART Y ( * print name and |
Death Penalty H/ C (Law Cierks) ‘
Dep In Chg E Div

 

 

Dep In Chg So Div

 

 

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X Flscal Secmm * Pri`nt name & address ofrhe notice party if this is

 

 

Intake Supervisor thejfrsf time this notice party is being served
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Interpreter Sectjon notice party if documents have previously been served

 

 

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PIA Cierk - Santa Ana (PIASA)

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PSA - Santa Ana (PSASA)
PSA - Riverside (PSAED)

 

 

 

 

 

Scimack, Randall (CJA Supervising Ai:tomey)

 

 

Statistics Clerk

Stratton, Maria - Fedei'ai Public Defender loitials of Deputy Clerk § §l

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